                        UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF NEW MEXICO

  IN RE:

  GANDYDANCER, LLC
      Debtor.                                                    No. 19-12669- t11


                   AMENDED OBJECTION TO DEBTOR’S MOTION
                         TO PAY EMPLOYEE WAGES

           COMES NOW the United States Trustee for the District of New Mexico and

  pursuant to 28 U.S.C. §§586(a)(3)(D) and 586(a)(5) objects to the Debtor’s motion to pay

  employee wages and salaries and to pay all costs and expenses incidental thereto, filed

  November 21, 2019 (Doc. No. 10) as follows:

           1. The Motion states that the Debtor is engaged in business. The Debtor is not

   engaged in business and had a receiver appointed prepetition, who has sold all the

   physical assets of the former business.

           2. The Motion states that the Debtor employs three full time employees,

   including Jamin Hutchens and James Hutchens. Jamin Hutchens and James Hutchens

   are principals of the Debtor and therefore insiders.

           3. This court’s local rule 2015-3 requires filing a notice of insider compensation

   before any compensation may be paid to insiders. The Debtor has not filed a notice of

   insider compensation.

           4. Unless and until the notice of insider compensation is filed, the Debtor

   may not pay any wages or other compensation to Jamin Hutchens and James

   Hutchens.

               Wherefore, the U.S. Trustee objects to the Motion until the notice of




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   insider compensation is filed.

                                         Respectfully submitted,


                                         ILENE J. LASHINSKY
                                         United States Trustee

                                         Electronically filed on 12/3/19
                                         ALICE NYSTEL PAGE
                                         Trial Attorney
                                         P. O. Box 608
                                         Albuquerque, NM 87103
                                         (505) 248-6550

  I hereby certify that on December 3, 2019, a true and correct copy of the foregoing
  pleading was electronically filed with the Court using the CM/ECF system, which sent
  notification to all parties of interest participating in the CM/ECF system.


  /s/ Alice Nystel Page
  ALICE NYSTEL PAGE
  Trial Attorney




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